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 1   VICTOR SHERMAN (SBN 38483)
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 3
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 4   Facsimile (310) 392-9029
     Email: victor@victorsherman.law
 5
     Attorney for Defendant
 6   RUBEN CORTEZ-ROCHA
 7

 8                         UNITED STATES DISTRICT COURT
 9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,               )       Case No. 1:18-cr-00246-DAD-BAM
                                           )
12                      Plaintiff,         )       EX PARTE APPLICATION FOR
13
                                           )       AMENDED ORDER TO
                                           )       MODIFY DEFENDANT’S BOND;
14 V.                                      )       DECLARATION OF VICTOR
                                           )       SHERMAN; ORDER
15                                         )
     RUBEN CORTEZ-ROCHA,                   )
16                                         )
                        Defendant.         )
17                                         )
18
           Defendant, Ruben Cortez-Rocha, by and through his counsel of record, Victor
19
     Sherman, hereby applies Ex Parte to this Honorable Court for an Amended Order to
20 modify the conditions of his bond.

21         This motion is based upon the files and records in this case and the attached
22 Declaration of Victor Sherman.

23 DATED: June 5, 2019                             Respectfully submitted,
24

25                                                 /s/Victor Sherman
26                                         By:     ___________________________
                                                   VICTOR SHERMAN
27                                                 Attorney for Defendant
28                                                 Ruben Cortez-Rocha


                                               1
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 1                       DECLARATION OF VICTOR SHERMAN
 2
           I, Victor Sherman, declare as follows:
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 4         1. I am attorney at law duly licensed to practice before this Honorable Court,

 5 and represent the defendant, Ruben Cortez-Rocha, in the above-entitled matter.

 6
           2. Currently, the defendant’s bond has been modified to a curfew of 7:00 p.m.
 7

 8 to 7:00 a.m. for employment purposes and the defendant must notify his supervising

 9 officer, Brenda Mercado, of his whereabouts.
10
           3. Since the defendant has not secured new gainful employment, defense
11

12 counsel would like the defendant’s bond to be modified so as to allow his pretrial

13 service officer to adjust his restrictions for medical, religious services, employment,

14
     or court ordered obligations, as the officer deems appropriate.
15

16         4. Defense counsel has spoken to the Assistant United States Attorney,

17 Angela Scott, who agrees with the above request for modification.

18
           5. Defense counsel has also been in contact with the defendant’s pretrial
19

20 service officers, Brenda Mercado, in the Central District of California, and pretrial

21 service officer, Frank Guerrero, in the Eastern District of California, who indicated

22
     that this modification is at their request.
23

24         6. Therefore, it is respectfully requested that the Court issue an Order for the
25 defendant’s bond to be modified for medical, religious services, employment, or

26
     court ordered obligations as the pretrial officer deems appropriate, and will adjust his
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28 restrictions. All other conditions of the bond are to remain in full force and effect.


                                                   2
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 1      I declare under penalty of perjury that the foregoing is true and correct.
 2
        Dated this 5th day of June, 2019 at Los Angeles, California.
 3

 4                                       /s/Victor Sherman

 5                                       ________________________________
 6                                       VICTOR SHERMAN

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 8                           UNITED STATES DISTRICT COURT
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11 UNITED STATES OF AMERICA,                )       Case No. 1:18-cr-00246-DAD-BAM
                                            )
12                        Plaintiff,        )       ORDER
13
                                            )
                                            )
14 V.                                       )
                                            )
15                                          )
     RUBEN CORTEZ-ROCHA,                    )
16                                          )
                          Defendant.        )
17                                          )
18         GOOD CAUSE APPEARING THEREFOR;
19
           IT IS HEREBY ORDERED that the defendant’s bond to be modified so as to
20

21 allow his pretrial service officer to adjust his restrictions for medical, religious

22 services, employment, or court ordered obligations, as the pretrial officer deems

23
     appropriate.
24

25
     IT IS SO ORDERED.
26
27      Dated:      June 5, 2019                       /s/ Barbara A. McAuliffe           _
                                                 UNITED STATES MAGISTRATE JUDGE
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                                                4
